                                    214TH
            Case 4:19-cv-01103 Document   DISTRICT
                                        1-2   FiledCOURT
                                                    on 03/25/19 in TXSD Page 1 of 27
                                                 CASE SUMMARY
                                             CASE No. 2019DCV-0737-F
  Arbuda Enterprises, Inc. nBA Safari Inn                          §               Location: 214th District Court
 VS.                                                               §        Judicial Officer: Rogoff-Klein, Inna
 Seneca Specialty Insurance Company                                §               Filed on: 02/19/2019
                                                                   §
                                                      CASE INFORMATION

                                                                                  Case Type: Deceptive Trade Practice

                                                                                       Case   02/19/2019 Pending

                                                                                  Case Flags: LCODC214

     DATE                                              CASE ASSIGNrVFENT

                 Current Case Assignment
                 Case Number                      20I9DCV-0737-F
                 Court                            214th District Court
                 Date Assigned                    02/19/2019
                 Judicial Officer                 Rogoff-Klein, Inna




                                                     PARTY INFORMATION
                                                                                                    Lead Attorneys
Plaintiff           Arbuda Enterprises, Inc.                                                              Hodge, Shaun w
                                                                                                                   Retained
                                                                                                         409-762-5000(W)

Defendant           Seneca Specialty Insurance Company                                               Avery, Christopher H
                                                                                                                 Retained
                                                                                                         713-403-8210(W)

     DATE                                      EVENTS & ORDERS OF THE COURT                                  INDEX

  02/19/2019    Original Petition (OCA)


  02/19/2019     V Original Petition Documents E-filed
                   Party: Plaintiff Arbuda Enterprises, Inc.
                   Plaint if/s' Original Petition


  02/19/2019     It! Service Request Information Sheet
                   Service Requested

  02/19/2019    Jury Fee Paid
                   Party: Plaintiff Arbuda Enterprises, Inc.

  02/25/2019    Citation
                  1 0Seneca Specialty Insurance Company
                 Issued

  03/01/2019    Citation
                Seneca Specialty Insurance Company        served


  03/15/2019     P!1 Original Answer
                   Party: Defendant Seneca Specialty Insurance Company
                   Defendant's Original Answer and General Denial
     DATE                                                 FINANCIAL INFORMATION




     EXHIBIT B
                                                           PAGE 1 OF 2                                   Printed on 03/22/2019 at 11:10 AM
                        214TH DisTincT COURT
Case 4:19-cv-01103 Document 1-2   Filed  on 03/25/19 in TXSD Page 2 of 27
                                    CASE SUMMARY
                                 CASE No. 2019DCV-0737-F
    Plaintiff Arbuda Enterprises, Inc.
    Total Charges                                                           453.00
    Total Payments and Credits                                              453.00
    Balance Due as of 3/22/2019                                               0.00




                                         PAGE 2 OF 2             Printed on 03/22/2019 at 11:10 AM
                                                                                                                   Filed
          Case 4:19-cv-01103 Document 1-2 Filed on 03/25/19 in TXSD Page 3 of 27                   2/19/2019 12:57 PM
                                                                                                       Anne Lorentzen
                                                                                                          District Clerk
                                                                                                 Nueces County, Texas

                                              2019DCV-0737-F
                                    CAUSE NO.________________

     ARBUDA ENTERPRISES, INC. DBA                     §       IN THE DISTRICT COURT OF
     SAFARI INN,                                      §
          Plaintiff,                                  §
                                                      §
     v.                                               §         NUECES COUNTY, TEXAS
                                                      §
     SENECA SPECIALTY INSURANCE                       §
     COMPANY,                                         §
          Defendant.                                  §       _______ JUDICIAL DISTRICT


                                  PLAINTIFFS’ ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

            COMES NOW, ARBUDA ENTERPRISES, INC. DBA SAFARI INN (“Plaintiff”), and

files this Plaintiffs’ Original Petition, complaining of SENECA SPECIALTY INSURANCE

COMPANY, (“SENECA SPECIALTY INSURANCE COMPANY” or “Defendant”), and for

cause of action, Plaintiffs would respectfully show this Honorable Court the following:

                                    DISCOVERY CONTROL PLAN

1.          Plaintiffs intend discovery in this case be conducted under the provisions of Texas Rule of

            Civil Procedure 190, Level 2, and requests that the Court enter an appropriate scheduling

            order.

                                                PARTIES

2.          Plaintiff is a Texas company operating in Nueces County, Texas.

3.          Defendant SENECA SPECIALTY INSURANCE COMPANY is a foreign insurance

            company registered with the Texas Department of Insurance engaging in the business of

            insurance in the State of Texas. The Defendant may be served with process by serving its

            registered   agent,   MR.   MARC      WOLIN,     PRESIENT       SENECA      SPECIALITY
      Case 4:19-cv-01103 Document 1-2 Filed on 03/25/19 in TXSD Page 4 of 27



        INSURANCE COMPANY, 160 WATER STREET, NEW YORK, NEW YORK 10038,

        by certified mail, return receipt.

                                  JURISDICTION AND VENUE

4.      The Court has jurisdiction over this cause of action because the amount in controversy is

        within the jurisdictional limits of the Court. Plaintiffs are seeking only monetary relief over

        $200,000 but not more than $2,000,000, including damages of any kind, penalties, costs,

        expenses, pre-judgment interest, and attorney fees. Plaintiffs reserve the right to amend this

        petition during or after the discovery process.

5.      The Court has jurisdiction over Defendant because this Defendant engages in the business

        of insurance in the State of Texas, and Plaintiffs’ causes of action arise out of this

        Defendant’s business activities in the State of Texas.

6.      Venue is proper in Neuces County, Texas, because the insured property is situated in

        Neuces County, Texas. and the events giving rise to this lawsuit occurred in this county.

                                                   FACTS

7.      Plaintiff is the owner of a Texas Policy Number SSP1601457 (“the Policy”), which was

        issued by SENECA SPECIALTY INSURANCE COMPANY.

8.      Plaintiffs own the insured property, which is specifically located at 3640 Leopard, Corpus

        Christi, Texas 78408 (hereinafter the “Property”).

9.      SENECA SPECIALTY INSURANCE COMPANY sold the Policy insuring the Property

        to Plaintiffs.

10.     On or about March 14, 2018 the Plaintiff suffered a fire loss and filed a claim. The Property

        sustained extensive damage during the loss.




PLAINTIFF’S ORIGINAL PETITION
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11.     Plaintiffs submitted a claim to Defendant against the Policy for damages the Property

        sustained as a result of the loss. Upon information and belief, Defendant assigned claim

        number 18CCN154.

12.     Plaintiff asked that Defendant cover the cost of repairs to the Property pursuant to the

        Policy.

13.     Defendant inspected the property and estimated the loss to be approximately $596,078.36.

        Defendant on multiple occasions failed to properly inspect the property and failed to

        properly scope the business loss by intentionally ignoring and turning a blind eye to the

        true extent of the loss.

14.     Plaintiff submitted a pre-suit demand letter to the Defendant via certified mail and regular

        mail on December 4, 2018. Defendant failed to attempt to resolve the dispute.

15.     Defendant set about to deny and underpay on properly covered damages. As a result of

        Defendant’s unreasonable investigation of the claim, including not providing full coverage

        for the damages sustained by Plaintiffs, as well as under-scoping the damages during its

        investigation and thus denying adequate and sufficient payment to Plaintiff. Plaintiffs’

        claim was improperly adjusted. The mishandling of Plaintiffs’ claim has also caused a

        delay in their ability to fully recover from the loss, which has resulted in additional

        damages. To this date, Plaintiffs have yet to receive the full payment to which he is entitled

        under the Policy

16.     As detailed in the paragraphs below, SENECA SPECIALTY INSURANCE COMPANY

        wrongfully denied Plaintiffs’ claim for repairs of the Property, even though the Policy

        provided coverage for losses such as those suffered by Plaintiffs. Furthermore, SENECA

        SPECIALTY INSURANCE COMPANY underpaid some of Plaintiffs’ claims by not




PLAINTIFF’S ORIGINAL PETITION
      Case 4:19-cv-01103 Document 1-2 Filed on 03/25/19 in TXSD Page 6 of 27



        providing full coverage for the damages sustained by Plaintiffs, as well as under-scoping

        the damages during its investigation.

17.     To date, SENECA SPECIALTY INSURANCE COMPANY continues to delay in the

        payment for the damages to the property. As such, Plaintiffs have not been paid in full for

        the damages to their property.

18.     Defendant SENECA SPECIALTY INSURANCE COMPANY failed to perform its

        contractual duties to adequately compensate Plaintiffs under the terms of the Policy.

        Specifically, it refused to pay the full proceeds of the Policy, although due demand was

        made for proceeds to be paid in an amount sufficient to cover the damaged property, and

        all conditions precedent to recovery upon the Policy had been carried out and accomplished

        by the Plaintiffs. SENECA SPECIALTY INSURANCE COMPANY’s conduct constitutes

        a breach of the insurance contract between SENECA SPECIALTY INSURANCE

        COMPANY and Plaintiffs.

19.     Defendant SENECA SPECIALTY INSURANCE COMPANY misrepresented to Plaintiffs

        that the damage to the Property was not covered under the Policy, even though the damage

        was caused by a covered occurrence. Defendant SENECA SPECIALTY INSURANCE

        COMPANY’s conduct constitutes a violation of the Texas Insurance Code, Unfair

        Settlement Practices. TEX. INS. CODE §541.060(a)(1).

20.     Defendant SENECA SPECIALTY INSURANCE COMPANY failed to make an attempt

        to settle Plaintiffs’ claim in a fair manner, although they were aware of their liability to

        Plaintiffs under the Policy.        Defendant SENECA SPECIALTY INSURANCE

        COMPANY’s conduct constitutes a violation of the Texas Insurance Code, Unfair

        Settlement Practices. TEX. INS. CODE §541.060(a)(2)(A).




PLAINTIFF’S ORIGINAL PETITION
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21.     Defendant SENECA SPECIALTY INSURANCE COMPANY failed to explain to the

        Plaintiffs the reasons for their offer of an inadequate settlement. Specifically, Defendant

        SENECA SPECIALTY INSURANCE COMPANY failed to offer Plaintiffs adequate

        compensation, without any explanation why full payment was not being made.

        Furthermore, Defendant SENECA SPECIALTY INSURANCE COMPANY did not

        communicate that any future settlements or payments would be forthcoming to pay for the

        entire losses covered under the Policy, nor did they provide any explanation for the failure

        to adequately settle Plaintiffs’ claim. Defendant SENECA SPECIALTY INSURANCE

        COMPANY’s conduct is a violation of the Texas Insurance Code, Unfair Settlement

        Practices. TEX. INS. CODE §541.060(a)(3).

22.     Defendant SENECA SPECIALTY INSURANCE COMPANY failed to affirm or deny

        coverage of Plaintiffs’ claim within a reasonable time. Specifically, Plaintiffs did not

        receive timely indication of acceptance or rejection, regarding the full and entire claim, in

        writing from Defendant SENECA SPECIALTY INSURANCE COMPANY. Defendant

        SENECA SPECIALTY INSURANCE COMPANY’s conduct constitutes a violation of the

        Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(4).

23.     Defendant SENECA SPECIALTY INSURANCE COMPANY refused to fully compensate

        Plaintiffs, under the terms of the Policy, even though Defendant SENECA SPECIALTY

        INSURANCE COMPANY failed to conduct a reasonable investigation. Specifically,

        Defendant SENECA SPECIALTY INSURANCE COMPANY performed an outcome-

        oriented investigation of Plaintiffs’ claim, which resulted in a biased, unfair, and

        inequitable evaluation of Plaintiffs’ losses on the Property.         Defendant SENECA




PLAINTIFF’S ORIGINAL PETITION
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        SPECIALTY INSURANCE COMPANY’s conduct constitutes a violation of the Texas

        Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(7).

24.     Defendant SENECA SPECIALTY INSURANCE COMPANY failed to meet its

        obligations under the Texas Insurance Code regarding timely acknowledging Plaintiffs’

        claim, beginning an investigation of Plaintiffs’ claim, and requesting all information

        reasonably necessary to investigate Plaintiffs’ claim, within the statutorily mandated time

        of receiving notice of Plaintiffs’ claim.        SENECA SPECIALTY INSURANCE

        COMPANY’s conduct constitutes a violation of the Texas Insurance Code, Prompt

        Payment of Claims. TEX. INS. CODE §542.055.

25.     Defendant SENECA SPECIALTY INSURANCE COMPANY failed to accept or deny

        Plaintiffs’ full and entire claim within the statutorily mandated time of receiving all

        necessary information. SENECA SPECIALTY INSURANCE COMPANY’s conduct

        constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS.

        CODE §542.056.

26.     Defendant SENECA SPECIALTY INSURANCE COMPANY failed to meet its

        obligations under the Texas Insurance Code regarding payment of claim without delay.

        Specifically, it has delayed full payment of Plaintiffs’ claim longer than allowed and, to

        date, Plaintiffs have not received full payment for their claim. SENECA SPECIALTY

        INSURANCE COMPANY’s conduct constitutes a violation of the Texas Insurance Code,

        Prompt Payment of Claims. TEX. INS. CODE §542.058.

27.     From and after the time Plaintiffs’ claim was presented to Defendant SENECA

        SPECIALTY INSURANCE COMPANY, the liability of SENECA SPECIALTY

        INSURANCE COMPANY to pay the full claim in accordance with the terms of the Policy




PLAINTIFF’S ORIGINAL PETITION
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        was reasonably clear. However, SENECA SPECIALTY INSURANCE COMPANY has

        refused to pay Plaintiffs in full, despite there being no basis whatsoever on which a

        reasonable insurance company would have relied to deny the full payment. SENECA

        SPECIALTY INSURANCE COMPANY’s conduct constitutes a breach of the common

        law duty of good faith and fair dealing.

28.     Defendants knowingly or recklessly made false representations, as described above, as to

        material facts and/or knowingly concealed all or part of material information from Plaintiff.

29.     As a result of Defendants’ wrongful acts and omissions, Plaintiffs were forced to retain the

        professional services of the attorney and law firm who is representing him with respect to

        these causes of action.

                                      CAUSES OF ACTION

30.     Defendants are liable to Plaintiffs for intentional breach of contract, as well as intentional

        violations of the Texas Insurance Code and Deceptive Trade Practices Act, intentional

        breach of the common law duty of good faith and fair dealing, and common law fraud.

                                   BREACH OF CONTRACT

31.     The Policy is a valid, binding, and enforceable contract between Plaintiffs and Defendant.

32.     Defendant SENECA SPECIALTY INSURANCE COMPANY’s conduct constitutes a

        breach of the insurance contract made between SENECA SPECIALTY INSURANCE

        COMPANY and Plaintiffs.

33.     Defendant SENECA SPECIALTY INSURANCE COMPANY’s failure and/or refusal, as

        described above, to pay the adequate compensation as it is obligated to do under the terms

        of the Policy in question, and under the laws of the State of Texas, constitutes a breach of

        SENECA SPECIALTY INSURANCE COMPANY’s insurance contract with Plaintiffs.

34.     The Defendant’s breach proximately caused Plaintiffs’ injuries and damages.


PLAINTIFF’S ORIGINAL PETITION
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35.     All conditions precedent required under the Policy have been performed, excused, waived,

        or otherwise satisfied by the Plaintiffs.

                  NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                       UNFAIR SETTLEMENT PRACTICES

36.     Defendants’ conduct constitutes multiple violations of the Texas Insurance Code, Unfair

        Settlement Practices. TEX. INS. CODE §541.060(a). All violations under this article are

        made actionable by TEX. INS. CODE §541.151.

37.     Defendants’ unfair settlement practice, as described above, of misrepresenting to Plaintiffs

        material facts relating to the coverage at issue, constitutes an unfair method of competition

        and an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE

        §541.060(a)(1).

38.     Defendants’ unfair settlement practice, as described above, of failing to attempt in good

        faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

        SENECA SPECIALTY INSURANCE COMPANY’s liability under the Policy was

        reasonably clear, constitutes an unfair method of competition and an unfair and deceptive

        act or practice in the business of insurance. TEX. INS. CODE §541.060(a)(2)(A).

39.     Defendants’ unfair settlement practice, as described above, of failing to promptly provide

        Plaintiffs with a reasonable explanation of the basis in the Policy, in relation to the facts or

        applicable law, for its offer of a compromise settlement of the claim, constitutes an unfair

        method of competition and an unfair and deceptive act or practice in the business of

        insurance. TEX. INS. CODE §541.060(a)(3).

40.     Defendants’ unfair settlement practice, as described above, of failing within a reasonable

        time to affirm or deny coverage of the claim to Plaintiffs, or to submit a reservation of




PLAINTIFF’S ORIGINAL PETITION
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        rights to Plaintiffs, constitutes an unfair method of competition and an unfair and deceptive

        act or practice in the business of insurance. TEX. INS. CODE §541.060(a)(4).

41.     Defendants’ unfair settlement practice, as described above, of refusing to pay Plaintiffs’

        claim without conducting a reasonable investigation, constitutes an unfair method of

        competition and an unfair and deceptive act or practice in the business of insurance. TEX.

        INS. CODE §541.060(a)(7).

42.     Each of the foregoing unfair settlement practices were completed knowingly by the

        Defendants, and were a producing cause of Plaintiffs’ injuries and damages.

                  NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                       THE PROMPT PAYMENT OF CLAIMS

43.     The Claim is a claim under an insurance policy with the Defendant of which Plaintiffs gave

        proper notice. The Defendant is liable for the Claim. Defendant’s conduct constitutes

        multiple violations of the Texas Insurance Code, Prompt Payment of Claims. All violations

        made under this article are made actionable by TEX. INS. CODE §542.060.

44.     Defendant SENECA SPECIALTY INSURANCE COMPANY’s failure to acknowledge

        receipt of Plaintiffs’ claim, commence investigation of the claim, and request from

        Plaintiffs all items, statements, and forms that it reasonably believed would be required

        within the applicable time constraints, as described above, constitutes a non-prompt

        payment of claims and a violation of TEX. INS. CODE §542.055.

45.     Defendant SENECA SPECIALTY INSURANCE COMPANY’s failure to notify Plaintiffs

        in writing of its acceptance or rejection of the claim within the applicable time constraints,

        constitutes a non-prompt payment of the claim. TEX. INS. CODE §542.056.

46.     Defendant SENECA SPECIALTY INSURANCE COMPANY’s delay of the payment of

        Plaintiffs’ claim following its receipt of all items, statements, and forms reasonably



PLAINTIFF’S ORIGINAL PETITION
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        requested and required, longer than the amount of time provided for, as described above,

        constitutes a non-prompt payment of the claim. TEX. INS. CODE §542.058.

47.     Each of the foregoing unfair settlement practices were completed knowingly by the

        Defendants, and were a producing cause of Plaintiffs’ injuries and damages.

             BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

48.     The Defendants breached the common law duty of good faith and fair dealing owed to

        Plaintiffs by denying or delaying payment on the Claim when Defendants knew or should

        have known that liability was reasonably clear.

49.     Defendants’ failure, as described above, to adequately and reasonably investigate and

        evaluate Plaintiffs’ claim, although, at that time, SENECA SPECIALTY INSURANCE

        COMPANY knew or should have known by the exercise of reasonable diligence that its

        liability was reasonably clear, constitutes a breach of the duty of good faith and fair dealing.

50.     Defendants’ conduct proximately caused Plaintiffs’ injuries and damages.

             VIOLATION OF TEXAS DECEPTIVE TRADE PRACTICES ACT

51.     Defendants’ conduct violated the Texas Deceptive Trade Practices Act, TEX. BUS. &

        COM. CODE § 17.41, et seq. (hereinafter the “DTPA”) by engaging in “false, misleading

        or deceptive acts and practices.”

52.     Plaintiffs are a “consumer” in that Plaintiffs acquired goods and/or services by purchase,

        and the goods and/or services form the basis of this action.

53.     The Defendants committed numerous violations of the Texas DTPA, insofar as

        Defendants:

        a)      Represented that goods or services have sponsorship, approval, characteristics,
                ingredients, uses, benefits, or quantities which they do not have;

        b)      Represented that an agreement confers or involves rights, remedies, or obligations
                which it does not have or involve, or which are prohibited by law;


PLAINTIFF’S ORIGINAL PETITION
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        c)      Failed to disclose information concerning goods or services which was known at
                the time of the transaction when such failure to disclose such information was
                intended to induce the consumer into a transaction into which the consumer would
                not have entered had the information been disclosed;

        d)      Generally engaged in unconscionable courses of action while handling the Claim;
                and/or

        e)      Violated the provisions of the Texas Insurance Code described herein.

54.     The Defendants took advantage of the Plaintiffs’ lack of knowledge, ability, experience or

        capacity to a grossly unfair degree and to the Plaintiffs’ detriment. The Defendants’ acts

        also resulted in a gross disparity between the value received and the consideration paid in

        a transaction involving the transfer of consideration. As a result of the Defendants’

        violations of the DTPA, Plaintiffs suffered actual damages. In addition, the Defendants

        committed the above acts knowingly and/or intentionally, entitling Plaintiffs to three times

        Plaintiffs’ damages for economic relief.

                                    COMMON LAW FRAUD

55.     Defendants are liable to Plaintiffs for common law fraud.

56.     Each and every one of the representations, as described above, concerned material facts for

        the reason that absent such representations, Plaintiffs would not have acted as he did, and

        which Defendants knew were false or made recklessly without any knowledge of their truth

        as a positive assertion.

57.     The statements were made with the intention that they should be acted upon by Plaintiffs,

        who in turn acted in reliance upon the statements, thereby causing Plaintiffs to suffer injury

        and constituting common law fraud.

58.     The Defendants knowingly or recklessly made false representations as to material facts

        and/or knowingly concealed all or part of material information from Plaintiffs with the

        intent of inducing Plaintiffs to accept a denial and/or underpayment of insurance benefits.


PLAINTIFF’S ORIGINAL PETITION
      Case 4:19-cv-01103 Document 1-2 Filed on 03/25/19 in TXSD Page 14 of 27



        The Defendants allowed Plaintiffs to use this information, or lack thereof, in justifiable

        reliance in accepting the denial and/or underpayment. Plaintiffs relied upon said statements

        in accepting the denial and/or underpayment of the Claim, and suffered injury as a result.

                                             DAMAGES

59.     Upon the trial of this case, it shall be shown Plaintiff sustained damages as a result of

        Defendant’s conduct. Plaintiff respectfully requests the Court and jury award the amount

        of loss Plaintiff has incurred in the past and will incur in the future. There are certain

        elements of damages to be considered separately and individually for the purpose of

        determining the sum of money that would fairly and reasonably compensate Plaintiff for

        injuries, damages, and losses, incurred and to be incurred. From the date of the occurrence

        in question until the time of trial of this cause, Plaintiff seeks every element of damage

        allowed by Texas law with respect to the causes of action mentioned above, including but

        not limited to Plaintiff’s actual damages, policy benefits, pre-judgment interest, post-

        judgment interest, consequential damages, court costs, attorneys’ fees, treble damages,

        statutory interest, and exemplary damages.

60.     Plaintiffs would show that all the aforementioned acts, taken together or singularly,

        constitute the producing causes of the damages sustained by Plaintiffs.

61.     The damages caused by the hail storm and/or windstorm have not been properly addressed

        or repaired in the months since the storm, causing further damages to the Property, and

        causing undue hardship and burden to Plaintiffs. These damages are a direct result of

        Defendants’ mishandling of Plaintiffs’ claim in violation of the laws set forth above.

62.     For breach of contract, Plaintiffs are entitled to regain the benefit of their bargain, which is

        the amount of their claim, together with attorney’s fees and pre-judgment interest.




PLAINTIFF’S ORIGINAL PETITION
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63.     For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiffs

        are entitled to actual damages, which include the loss of the benefits that should have been

        paid pursuant to the policy, mental anguish, court costs, and attorney's fees. For knowing

        conduct of the acts described above, Plaintiffs ask for three times their actual damages.

        TEX. INS. CODE §541.152.

64.     For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiffs are

        entitled to the claim amount, as well as eighteen (18) percent interest per annum on the

        amount of such claim as damages, together with attorney's fees. TEX. INS. CODE §542.060.

65.     For breach of the common law duty of good faith and fair dealing, Plaintiffs entitled to

        compensatory damages, including all forms of loss resulting from the insurer's breach of

        duty, such as additional costs, economic hardship, losses due to nonpayment of the amount

        the insurer owed, exemplary damages, and damages for emotional distress.

66.     For violations of the Deceptive Trade Practices Act, Plaintiffs are entitled to recover actual

        damages and up to three times Plaintiffs’ damages for economic relief, along with

        attorney’s fees, interest and court costs.

67.     For fraud, Plaintiffs are entitled to recover actual damages and exemplary damages for

        knowingly fraudulent and malicious representations, along with attorney’s fees, interest,

        and court costs.

68.     For the prosecution and collection of this claim, Plaintiffs have been compelled to engage

        the services of the attorney whose name is subscribed to this pleading. Therefore, Plaintiffs

        are entitled to recover a sum for the reasonable and necessary services of Plaintiffs’

        attorney in the preparation and trial of this action, including any appeals to the Court of

        Appeals and/or the Supreme Court of Texas.




PLAINTIFF’S ORIGINAL PETITION
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69.     Plaintiffs are not making any claims for relief under federal law.

                                          JURY DEMAND

70.     Plaintiffs request a jury trial, and have tendered any and all requisite fees for such along

        with the filing of this Plaintiffs’ Original Petition.

                                              PRAYER

        WHEREFORE, Plaintiffs respectfully request that final judgment be rendered for the

Plaintiffs as follows:


        1) Judgment against Defendants for actual damages in an amount to be determined by the
           jury;

        2) Statutory benefits;

        3) Treble damages;

        4) Exemplary and punitive damages;

        5) Pre-judgment interest as provided by law;

        6) Post-judgment interest as provided by law;

        7) Attorneys’ fees;

        8) Costs of suit;

        9) Such other and further relief to which Plaintiffs may be justly entitled.

                                                Respectfully Submitted,

                                                By: _______________________________

                                                     Shaun W. Hodge
                                                     Texas Bar No. 24052995
                                                     The Hodge Law Firm, PLLC
                                                     2211 Strand, Suite 302
                                                     Telephone: (409) 762-5000
                                                     Facsimile: (409) 763-2300
                                                     Email: shodge@hodgefirm.com

                                                ATTORNEY FOR PLAINTIFFS




PLAINTIFF’S ORIGINAL PETITION
                                                                                                               Filed
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                                                                                                   Anne Lorentzen
                                                                                                      District Clerk
                                                                                             Nueces County, Texas



              NUECES COUNTY PROCESS REQUEST SHEET
                 901 LEOPARD STREET ROOM 313 / CORPUS CHRISTI, TEXAS 78401
                       PHONE # 361-888-0450 / FAX # 361-888-0424


   FOR EACH PARTY SERVED YOU MUST FURNISH ONE (1) COPY OF THE PLEADING.
                    2019DCV-0737-F
 CAUSE NUMBER:__________________________                                CURRENT COURT: _________
                 02-19-2019
DATE OF REQUEST: _________________________                              AMOUNT PAID: _________

                     SERVICE WILL ONLY BE ISSUED UPON PAYMENT OF COST!

TYPE OF PROCESS TO BE ISSUED; (Citation, Show Cause, Precept, TRO, etc.)
                                                                      Citation
________________________________________________________________________________________

NAME OF DOCUMENT/PLEADING TO BE SERVED     Plaintiff's Original Petition
________________________________________________________________________________________

SERVICE BY:
[ ] ATTORNEY FOR PICK UP      [ ] ATTORNEY RETURN BY MAIL [ ] CONSTABLE / SHERIFF [ ] NO SERVICE
[ ] CIVIL PROCESS SERVER:
    AUTHORIZED PERSON: _______________________________________________ PHONE: ________________
[X] CERTIFED MAIL       [ ] RESTRICTED DELIVERY
[ ] COURTHOUSE POSTING        # OF DAYS TO BE POSTED: _________________________________________
                                                       BRIEF STATEMENT OF SUIT (USE REVERSE SIDE)
[ ] PUBLICATION            NAME OF NEWSPAPER:       ___________________________________________
                           # OF DAYS TO BE PUBLISHED: _________________________________________
                                                       BRIEF STATEMENT OF SUIT (USE REVERSE SIDE)

 PARTY/PARTIES TO BE SERVED:
                 Seneca Specialty Insurance Company by serving Registered Agent: Mr. Marc Wolin, President
[1] NAME/AGENT ________________________________________________________________________________
                 160 Water Street, New York, New York 10038
       ADDRESS ________________________________________________________________________________

  [2] NAME/AGENT ______________________________________________________________________________
       ADDRESS ________________________________________________________________________________

  [3] NAME/AGENT ______________________________________________________________________________
         ADDRESS ______________________________________________________________________________

  [4] NAME/AGENT ______________________________________________________________________________
         ADDRESS ______________________________________________________________________________

ATTORNEY OR PARTY REQUESTING ISSUANCE OF PROCESS;
        Shaun W. Hodge
NAME ____________________________________________                      24052995
                                                      ATTORNEY BAR # __________________________
MAILING    ADDRESS
         409-762-5000
PHONE # ____________________________                                 409-763-2300
                                                              FAX #_____________________________
ATTORNEY REPRESENTS:               PLAINTIFF ________  DEFENDANT ________    OTHER _______
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                                                                                                       Anne Lorentzen
                                                                                                          District Clerk
                                                                                                 Nueces County, Texas
                                    CAUSE NO. 2019DCV-0737-F

ARBUDA ENTREPRISES, INC. DBA                    §                  IN THE DISTRICT COURT
SAFARI INN,                                     §
     Plaintiff,                                 §
                                                §
v.                                              §
                                                §                 214TH JUDICIAL DISTRICT
                                                §
SENECA SPECIALTY INSURANCE                      §
COMPANY,                                        §
     Defendant.                                 §                  NUECES COUNTY, TEXAS


                DEFENDANT’S ORIGINAL ANSWER AND GENERAL DENIAL

TO THE HONORABLE JUDGE OF SAID COURT:

        Defendant, Seneca Specialty Insurance Company (“Defendant”), files this Original Answer to

Plaintiff's Original Petition, and would respectfully show the following:

                                     I.      GENERAL DENIAL

        Defendant asserts a general denial as authorized by Rule 92 of the Texas Rules of Civil

Procedure and respectfully requests that Plaintiff Arbuda Enterprises, Inc. d/b/a Safari Inn (“Plaintiff”)

be required to prove the charges and allegations made against it by a preponderance of the evidence as

is required by the Constitution and laws of the State of Texas.

                            II.     DISCOVERY PLAN: LEVEL TWO

        Defendant asserts that Level Two discovery is appropriate in this case.

                                  III.    SPECIAL EXCEPTIONS

                                   FIRST SPECIAL EXCEPTION
                                        Breach of Contract

        Defendant specifically excepts to Plaintiff’s Original Petition because it only vaguely and

generically alleges that it breached its contract of insurance. The vague and indefinite breach of

contract claim fails to: (1) provide fair notice of the elements and facts of the loss allegedly sustained

by Plaintiff; (2) provide fair notice of facts showing Plaintiff’s alleged loss was covered under the

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terms of the insurance contract at issue; or (3) provide fair notice of the acts and/or omissions by

Defendant which allegedly could amount to a breach of its contractual obligations, if any, to Plaintiff.

                                  SECOND SPECIAL EXCEPTION
                                       Bad Faith Claims

        Defendant specially excepts to Plaintiff’s Original Petition because Plaintiff fails to plead all of

the elements of its alleged cause of action for breach of the duty of good faith and fair dealing. As a

result, Plaintiff should be required to file an amended pleading which sets for the elements and facts

and evidence in support of Plaintiff’s claim for bad faith, as well as all related damages.

                                   THIRD SPECIAL EXCEPTION
                                          Chapter 541

        Defendant specially excepts to Plaintiff’s Original Petition because Plaintiff’s Chapter 541

claims are deficient. The elements of a cause of action under Chapter 541 are: (1) the plaintiff is a

“person” as defined by Texas Insurance Code §541.002; (2) the defendant’s acts or practices violated a

section of the Insurance Code, §17.46(b) of the Texas Business & Commerce Code, or violated a tie-in

provision of the DTPA; and (3) defendant’s acts were a producing cause Plaintiff’s damages.

        Plaintiff generically alleges that Defendant violated subparts of §541 but fail to allege any

specific facts on which such claims are based. As a result, Plaintiff should be required to file an

amended pleading setting forth the elements, facts, and evidence in support of its claim for §541

violations, as well as all related damages.

                                  FOURTH SPECIAL EXCEPTION
                                          Chapter 542

        Defendant specially excepts to Plaintiff’s Original Petition because Plaintiff’s Chapter 542

claims are deficient. Plaintiff generically alleges that Defendant violated subparts of §542 but fail to

allege any specific facts on which such claims are based. As a result, Plaintiff should be required to

file an amended pleading setting forth the elements, facts, and evidence in support of its claim for §542

violations, as well as all related damages.

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                                   FIFTH SPECIAL EXCEPTION
                                         DTPA Violations

        Defendant specially excepts to Plaintiff’s Original Petition because its assertions under the

Texas Deceptive Trade Practices – Consumer Protection Act (“DTPA”) are deficient. Specifically,

Plaintiff fails to provide Defendant with fair notice of the facts and circumstances supporting the

alleged DTPA violations in the Petition. As a result, Plaintiff should be required to file an amended

pleading which sets forth facts and evidence in support of Plaintiff’s claims and alleged damages.

                                   SIXTH SPECIAL EXCEPTION
                                             Fraud

        Defendant specially excepts to Plaintiff’s Original Petition because it fails to identify any facts

which support the allegations of fraud against it. In order to hold a defendant liable for common law

fraud, a plaintiff must show the following: (1) the defendant made a material misrepresentation; (2)

the representation was false, and was either known to be false when made or was asserted without

knowledge of its truth; (3) the defendant intended the representation to be relied upon; (4) the

representation was actually relied upon; and (5) the representation caused harm to the plaintiff.

Plaintiff has not pled any facts substantiating any of the elements of their fraud claim against

Defendant. Accordingly, Plaintiff should be required to file an amended pleading which sets forth

facts and evidence in support of her claim for alleged fraud.

                                 IV.     AFFIRMATIVE DEFENSES

                                 FIRST AFFIRMATIVE DEFENSE
                                    Policy Terms and Conditions

        Plaintiff’s claims are subject to the respective terms and conditions of the Policy, including but

not limited to the applicable Policy limit and deductible. Defendant hereby incorporates the terms of its

Policy by reference.




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                                SECOND AFFIRMATIVE DEFENSE
                                     Failure to State a Claim

        Plaintiff’s causes of action are barred, either in whole or in apart, because they fail to state a

claim upon which relief can be granted. Plaintiff fails to describe how Defendant’s alleged breach of

the insurance contract would convert Plaintiff’s contractual claim into any other causes of action

including, but not limited to, breach of the duty of good faith and fair dealing or a violation of the

Texas Insurance Code.

                                 THIRD AFFIRMATIVE DEFENSE
                                      Concurrent Causation

        Plaintiff’s recovery is barred by the doctrine of concurrent causation because it cannot

segregate between the damages caused by covered and non-covered perils. JAW The Pointe, LLC v.

Lexington Ins. Co., 460 S.W.3d 597, 608 (Tex. 2015).

                                FOURTH AFFIRMATIVE DEFENSE
                                  Liability Not “Reasonably Clear”

        As to Plaintiff’s extra-contractual claims alleging “bad faith”, a bona fide controversy existed

and continues to exist concerning Plaintiff’s entitlement, if any, to insurance benefits from Defendant,

and Defendant possesses the right to value claims differently from those asserting claims under the

Policy without facing bad faith liability.

                               FIFTH AFFIRMATIVE DEFENSE
                    Absence of Coverage Precludes Extra-Contractual Liability

        Plaintiff has not suffered any damages that are recoverable under any extra-contractual theory

of liability.

                                 SIXTH AFFIRMATIVE DEFENSE
                             Failure to Mitigate/ Contributory Negligence

        Plaintiff is barred from any recovery, in whole or in part, due to its failure to mitigate the

alleged damages and its own contribution to the alleged damages. Because of Plaintiff’s failure to




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mitigate damages, it is precluded from recovering any damages that would have been prevented and/or

mitigated.

                                 SEVENTH AFFIRMATIVE DEFENSE
                                       Waiver and Estoppel

        Plaintiff has waived and/or is estopped from asserting the claims against Defendant in

Plaintiff’s Original Petition.

                                  EIGHTH AFFIRMATIVE DEFENSE
                                       Conditions Precedent

        Plaintiff’s claims are subject to the respective terms and conditions of the Policy, including but

not limited to showing a covered loss.

                                   NINTH AFFIRMATIVE DEFENSE
                                          Limit of Liability

        Plaintiff’s damages, if any, are limited by the amount set forth in the policy limitations

provisions of the applicable policy, a copy of which has been produced.

                                   TENTH AFFIRMATIVE DEFENSE
                                        Offset and/or Credit

        Plaintiff’s damages, if any, must be offset by the amount of applicable policy deductibles.

Further, any award to Plaintiff must be offset by all prior payments tendered to Plaintiff for the claims

forming the basis of its claims and by all payments and credits otherwise available.

                                 ELEVENTH AFFIRMATIVE DEFENSE
                                  Contractual and Statutory Limitations

        Any recovery by Plaintiff is subject to the contractual limitations under the policy and/or the

statutory limitations on liabilities and damages contained in Chapter 41 of the Texas Civil Practice and

Remedies Code, as well as all other statutory damage caps provided by law.

                                 TWELFTH AFFIRMATIVE DEFENSE
                                   Punitive and Exemplary Damages

        Defendant invokes and asserts all applicable limitations upon punitive damages, exemplary

damages, and additional damages, including, but not limited to, those contained in the applicable
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statues under which it is being sued, Texas Civil Practice and Remedies Code Chapter 41, and the

United States and Texas Constitutions.        Also, to the extent that additional damages or punitive

damages or penalty interest are awarded, more than one of them cannot be awarded for the same

conduct and/or based on the same damages as such multiple awards would be multiple punishments for

the same actions.

                                             V.      PRAYER

        Defendant requests that Plaintiff takes nothing by its claims and that Defendant be granted any

and all other relief to which it may show itself justly entitled.

                                               Respectfully submitted,
                                               THOMPSON, COE, COUSINS & IRONS, L.L.P.

                                               By: /s/ Christopher H. Avery
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                                                       Insurance Company




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of March, 2019, a true and correct copy of the foregoing
was served via e-service, to the following:


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 Safari Inn




                                           /s/ Christopher H. Avery
                                           CHRISTOPHER H. AVERY




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